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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                    :   CASE NO. 1:23MJ025 (ZMF)
                                             :
                  Plaintiff,                 :
                                             :
       vs.                                   :
                                             :
KYLE MLYNAREK, et al.,                       :    NOTICE OF ATTORNEY
                                             :    APPEARANCE
                  Defendant.                 :


      Undersigned counsel, Matthew Gay, enters a Notice of Appearance of Co-Counsel on behalf

of the Defendant, Kyle Mlynarek, in the above-captioned case. Please add Matthew Gay to the

docket as co-counsel for Mr. Mlynarek. Please forward all Court notifications, correspondence

and pleadings to the address listed below.



                                             Respectfully submitted,

                                             STEPHEN C. NEWMAN
                                             Federal Public Defender
                                             Ohio Bar: 0051928


                                             /s/ Matthew Gay
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